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ie ska ae pete
doxorubicin hel

Antineoplastic

Used in the treatenent of various forms of
cancer

gentamicin Antibacterial Agent (Anti-infective Agent)
Used to treat serious bacterial infections
heparin Anticoagulant (Cardiovascular Agent)

Used to decrease the clotting ability of the
blood

sodium chloride

Flush; Abortifacient

Used to remove medicine and blockage from
intravenous (IV) catheter. Also used to induce
abortion

1. Baxter Has Been the Target of Government Investigations

273. Baxter has been investigated by the United States Department of Justice,

Department of Health and Human Services Office of Inspector General, the Attorney General for

the State of California, the Attommey General for the State of Texas, the Attomey General for the

State of Iinois, and the Committee on Commerce of the House of Representatives.

274. These investigations confirm that Baxter has engaged in a deliberate scheme to

inflate AWPs for many or most of its drugs. A Baxter document made public as a result of the

congressional investigation entitled, “Confidential — Baxter Internal Use Only,” acknowledged

that: “Increasing AWPs was a large part of our negotiations with the large homecare

companies.” Baxter further admitted in internal documents that homecare companies that

rennburse based on AWP make a significantly higher margin. Thus, Baxter’s own documents

demonstrate its active participation in the scheme to artificially inflate AWPs.

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279. In addition, Baxter’s marketing and sales documents, which were prepared and
disseminated to its employees and agents via the U.S. mail and interstate wire facilities,
compared the costs of their respective drugs to those of their respective competitors and were
intended to induce physicians to use Baxter drugs and shift market share in its favor. Other
documents created and disseminated by Baxter compared the AWP and the actual “cost” of their
respective drugs, so that medical providers could easily see the different “return-to-practice”
amounts available for different levels of purchase.

5. Specific Baxter AWPs Documented by the DOJ

280. Inareport published by the DHHS (AB-00-86), the DOJ documented at least 41
instances where the published AWPs for various dosages of drugs manufactured by Baxter were
substantially higher than the actual prices listed by wholesalers. The chart below sets forth the
four drugs identified by the DOJ and the spread associated with one particular dosage of each

drug. These figures compare the DOJ’s determination of an accurate AWP for that particular

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dosage, based upon wholesalers’ price lisis, with the AWP reported by Baxter in the 2001 Red
Book.

Drug in Lowest Baxter’s 2001 DOJ Determined

Percentage
Dosage Form Red Book AWP Actual AWP Difference Spread
Dextrose $928.51 $2.25 $926.26 41,167%
Dextrose Sodium $357.69 $2.93 $354.76 12,108%
Chloride
Sodium Chioride $928.51 $1.71 $926.80 54,199%
Factor VII $1.28 5.92 §.36 39%

(P006299-006316).
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Tabie 1

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Table 2

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8. Baxter Provided Free Goods and Other Incentives

13. Baxter also provided physicians with free goods with the understanding that
physicians would bill for those goods, in violation of federal law. Billing for free goods was a
way for physicians to obtain greater profit at the expense of the Class. Baxter’s fraudulent use of
free goods aimed at increasing market share is evidenced by an internal memorandum from a
Baxter contract administrator to certain field sales managers encouraging the distribution by U.S.

mail or otherwise of free product to achieve overall price reduction:

BAXTER: “The attached notice from Quantum Headquarters was

sent on April 10th to all their centers regarding the reduction on

Recombinate pricing. Please note that they want io continue to be

invoiced at the 3.81 price. They have requested that we send them

free product every quarter calculated by looking at the number of

units purchased in that quarter and the $.13 reduction in price - - -

free product given to achieve overall price reduction.”
Letter from Stark, Committee on Ways and Means to Holman, Pres. Pharmaceutical Research
and Manufacturers of America, Sept. 28, 2002 (P0075410-44),

285. As set forth above, Baxter’s scheme to inflate its reported AWPs, market the
resulting spread, and channel to providers “free” goods ~ all in order to increase the market share
of its drugs — has resulted in excessive overpayments by Plaintiffs and the Class.

F. Bayer
286. Bayer engages in an organization-wide and detiberate scheme to inflate AWPs.

Bayer has stated fraudulent AWPs for all or almost all of its drugs, including those set forth

below. The specific drugs of Bayer for which relief is sought in this case are set forth in
Appendix A, and are set forth below:

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BAYER Cipro ciprofloxacin or Antibiotic Agent (Anti-Infective Agent)
ciprofloxacin hel Used in the treatment of various bacterial
infections, including anthrax
Cipro XR ciprofloxacin hel- Antibiotic Agent (Anti-Infective Agent)
ciprofloxacin betaine Used in the treatment of various bacterial
infections, including anthrax
DTIC-Dome dacarbazine Antineoplastic
Used in the treatment of melanoma and
Hodekin’s disease
Gamimune N | imomme globulin immunizing Agent
(human) iv Used as maintenance therapy in patients
with compromised immune systems
Koate-HP antihemophilic factor Antihemophilic Factor (Blood Modifier}
(human) Used to increase blood clotting and
decrease bleeding episodes
Kogenate antihemophilic factor Antihemophilic Factor (Blood Modifier)
(recombinant) Used to increase blood clotting and
decrease bleeding episodes
Mithracin plicamycin Antineoplastic; Antihypercalcemic Agent
Used in the treatment of various forms of
cancer
1. Bayer Has Been the Target of Government Investigations
287, Inconnection with its scheme to inflate AWPs, Bayer has been investigated by

the Department of Justice, Department of Health and Human Services, Office of Inspector

General, and the Commonwealth of Massachusetts. Bayer agreed to settle claims asserted by the

United States government and 47 states arising from its fraudulent pricing and marketing

practices. According to the DOJ’s January 23, 2001 press release:

The government’s investigation of the allegations...revealed that
[Bayer] beginning in the early 1990s, falsely inflated the reported
drug prices — referred to by the industry as the Average Wholesale
Price (A WP), the Direct Price and the Wholesale Acquisition Cost
— used by state governments to set reimbursement rates for the
Medicaid program. By setting an extremely high AWP and,
subsequently, selling drugs at a dramatic discount, Bayer induced
physicians to purchase its products rather than those of competitors
by enabling doctors to profit tremendously from reimbursement
paid to them by the government.

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The Bayer AWPs at issue in the investigation involved Bayer’s
biologic products such as Kogenate, Koate-HP, and Gamimmune,
which are widely used in treating hemophilia and immune
deficiency diseases. The investigation further revealed that the
practice in which Bayer selectively engaged, commonly referred to
as “marketing the spread,” also had the effect of causing other drug
companies to inflate their AWPs.

“Bayer Corporation Settlement on Medicaid Drug Prias” (P01 1236-01 1237),

288. As part of its settlement of government claims in 2000, Bayer is required, under
the terms of a corporate integrity agreement, to provide state governments and the federal
government with the average selling prices of its drugs — a price which accounts for all
discounts, free samples, rebates and all other price concessions provided by Bayer to any
relevant purchaser that result in a reduction of the ultimate cost to Bayer’s customers.

289. In April 2003, Bayer also agreed to pay the government $251.6 million in civil
penaities for violating the Federal Prescription Drug Marketing Act for alleged overcharges
involving its antibiotic Cipro and its high blood pressure drug Adalat.

Z.

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3. Bayer’s AWP Manipulation Benefited Providers at the Expense of the Class
291. As detailed in a September 28, 2000 letter from Representative Stark to Alan F.

Holmer, President of the Pharmaceutical Research and Manufacturers of America, internal Bayer

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documents reveal Bayer knowingly participated and directed the scheme to artificially inflate the

AWPs for its products and to market the spread:

BAYER: “Chris, if Baxter has increased their AWP then we must
do the same. Many of the Homecare companies are paid based on
a discount from AWP. [fwe are lowed [sic] than Baxter then the
return will be lower to the HHC. It is a very simple process to
increase our AWP, and can be done overnight.”

(P007549.)

292. Tom Bhiey, in a letter dated September 25, 2000 to the Health Care Financing
Administration, analyzed dmig sales in Florida and noted that sales of Bayer’s WhinRho
“skyrocketed” when competitors reduced their spreads but Bayer did not.

4, Specific Bayer AWPs Documented by the DOJ

293. Inareport published by the DHHS, the DOJ documented at least 10 instances
where the published AWPs for various dosages of two drugs manufactured by Bayer were
substantially higher than the actual prices listed by wholesalers. The chart below sets forth the
two drugs identified by the DOJ and the spread associated with one particular dosage of each
drug. These figures compare the DOJ’s determination of an accurate AWP for that particular

dosage, based upon wholesalers’ price lists, with the AWP reported by Abbott in the 2001 Red

Book.
Bayer’s 2001 Red DOJ Determined Percentage
Drug Book AWP Actual AWP Difference Spread
Immune Globulin 2450.00 $362.50 587.50 24%
Factor VUI $0.92 $0.42 $0.50 119%

(AB-00-86 (P006299-006316)).

294. Ina DHHS OIG report (see OEI-03-00-003 10 (P006398-006424)), the
government also discovered that the AWP for all immune globulin pharmaceuticals (of a dosage
of 5g), including Bayer’s Gamimune® (Bayer was one of five manufacturers of the dosage listed

in the 1997 Red Book), were over inflated by an average spread of 32.21%.

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295. According to the government’s settlement with Bayer arising out of Bayer’s
fraudulent pricing and marketing practices, the Bayer AWPs at issue in the investigation (and
ultimately settled) include the AWPs for Kogenate.

5. Inflated AWPs From Bayer’s Price Lists
296. According to Bayer’s own documents, the published AWPs for its drugs were higher than
the actual prices provided to wholesalers. In response to government subpoenas, Bayer produced
numerous price lists setting forth spreads between AWPs and prices apparently offered to
wholesalers, providers and other intermediaries. A review of those price lists reveals that Bayer
has consistently offered hundreds of its drugs and other solutions to its customers at prices
significantly below the published AWP and that the spread was of great importance to its
customers.

6. Bayer Provided Free Goods and Other Incentives

297. Inaddition to marketing the spread, Bayer has utilized other impermissible
inducements to stimulate sales of its drugs. These inducements were designed to result in a
lower net cost to the provider while concealing the actual whoiesale price beneath a high invoice
price. By utilizing “off-invoice” inducements, Bayer provided purchasers with substantial
discounts meant to gain their patronage while maintaining the fiction of a higher wholesale price.

298. Evidence of these practices is found in an October 1, 1996 Bayer internal

memorandum addressing volume sales opportunities for the pharmaceutical Kogenate®:

BAYER: “I have been told that our present Kogenate price, 5.66 is
the highest price that Quantum is paying for recombmant factor
VII. In order to sell the additional 12mrm/u we will need a lower
price. I suggest a price of 5.60 to $.62 to secure this volume.

From Quantum’s stand [sic] point, a price off invoice, is the most
desirable. We could calculate our offer in the form of a marketing
grant, a special! educational grant, payment for specific data
gathering regarding Hemophilia treatment, or anything else that
will produce the same dollar benefit to Quantum Health
Resources.”

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299. . As set forth above, Bayer’s scheme to inflate its reported AWPs and market the
resultmg spread to increase the market share of its drugs and its use of other “off invoice” rebates
and financial inducements to its customers has resulted in excessive overpayments by Plaintiffs
and the Class.

300. Bayer routinely offered its customers off-invoice discounts as one feature of its
standard contracts. (BAYM002428).

7. Bayer Concealed Its AWP Manipulation

301. Bayer deliberately acted to conceal its fraudulent reporting and marketing of the
AWP spread. Bayer routinely required that its customers keep secret the prices they were being
charged for Bayer drugs. (BA YM000913, BAYM002436).

G. The Boehringer Group

302. The Boehringer Group engages in an organization-wide and deliberate scheme to
inflate AWPs. The Boehnmger Group has stated fraudulent AWPs for all or almost all of its
drugs, including those set forth below. The specific drugs of The Boehringer Group for which

Telief is sought in this case are set forth in Appendix A and are identified below:

nevirapine Antivival Agent (Anti-Infective Agent)

BOEHRINGER

GROUP (Boehringer, Used in the treatment of HIV infection
Ben Venue, Bedford
and Roxane)
acycolvir sodium Anti-Infective Agent
Used in the treatment of herpes infections
amikacin sulfate Antibiotic Agent (Anti-Infective Agent}

Used to treat respiratory tract, urinary tract,
bone, skin and soft tissue infections

cytarabine Antineoplastic
Used to treat leukemia and non-Hodgkin's
lymphoma

doxorubicin Antineoplastic

hydrochloride Used in the treatment of ovarian cancer and

AIDS-related Kaposi's sarcoma

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etoposide Mitotic Inhibitor (Antineoplastic)
Used in the treatrnent of testicular neoplasm
and small cell cancer of the lung

leucovorin calcium Antianemic Agent (Blood Modifier)
Used in the treatment of anemia
methotrexate sodium Antineoplastic

Used in the treatment of various forms of
Cancer

mitomycin Antineoplastic
Used in the treatment of various forms of
cancer

vinblastine Antineoplastic

Used in the treatment of various forms of
cancer, including lymphoma and breast
cancer

vinblastine sulfate Antineoplastic

Used in the treatment of various forms of
cancer, including \ymphorna and breast
cancer

1. The Boehringer Group Has Been the Target of Government Investigations

303. In connection with its scheme to inflate AWPs, The Boehringer Group has been
investigated by the Department of Justice, the Department of Health and Human Services Office
of Inspector General, the Committee on Commerce of the House of Representatives, and the
Nevada Attorney General.

2. The Boehringer Group Contrels the Published AWP for Its Products

304. The Boehringer Group has controlled and set the AWPs for its pharmaceutical
products through direct communications with industry compendia during the Class Period. For
example, a September 27, 1996 document entitled “Red Book Product Listing Verification”
required Defendant to sign each page that contained a list of The Boehringer Group’s products,
NDC numbers, AWPs, WACs and price effective dates. (MDL BV 000799). Similarly, a Red
Book New Product Information Form dated November 25, 1996 was completed by Bedford for

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the drug Ketamine Hydrochloride Injection USP and required Bedford to fill in the AWP and
WAC for the product (which it did). (MDL BV 000807).

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306.

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307. Of course, depending on which goverment entity was performing the
investigation and the date of the government’s inquiries, The Boehringer Group’s “definition” of
AWP changed. By November 2, 1999, Bedford told the Committee on Commerce that it
understood AWP to be tied to “the manufacturer’s suggested prices to customers of its

customers.” (MDL BY 006761-65, at 6763).

308. Ina letter dated June 5, 2000 to the Nevada Attorney General regarding the

Attomey General’s inquiries about Bedford’s AWP, Bedford responded in pertinent part:

1. Identify what Bedford represents to be its understanding
of the meaning “A WP.”

Auswer: Bedford’s understanding of AWP, derived from its
experience in the industry, is that it is a suggested price identified
by pharmaceutical companies as the price a wholesaler may wish
to charge its customers for pharmaceutical products. Bedford has
always viewed AWP as a suggested ‘retail’ price to the customers
of wholesalers and not as an acquisition cost to wholesalers.

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309. In fact, even armed with the knowledge that industry compendia use Bedford’s
HLPs as AWPs, Bedford admits that HLPs do not accurately reflect the AWP for its drugs:

As indicated above, Bedford dees not communicate AWPs for its
products. However, it is aware that pharmaceutical price reporting
services have chosen to report Bedford’s HLP as AWP. Bedford
has always reported its HLP accurately. These list prices are not
averages of the wholesale prices for Bedford’s products.

(MDL BY 002071-73. at 2073) (emphasis added).

310.

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3. Specific Boehringer AWPs Documented by the DOJ

311. Ina report published by the DHHS, the DOJ documented at least 32 instances
where the published AWPs for various dosages of nine drugs manufactured by The Boehringer
Group were substantially higher than the actual prices listed by wholesalers. The chart below
sets forth the nine drugs identified by the DOJ and the spread associated with one particular

dosage of each drug. These figures compare the DOJ’s determination of an accurate AWP for

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that particular dosage, based upon wholesalers’ price lists, with the AWP reported by The
Boebringer Group in the 2001 Red Book.

Drug The Boebringer DOI Difference Percentage
Group's 2001 Determined Spread
Red Beak Actual AWP
AWP

Acyclovir Sodium 5 528.00 $ 207.00 $ 321.00 155%
Amikacin Sulfate 3 437.50 $ 65.33 $ 372.17 570%
Mitomycin § 128.05 $ 51.83 $ 76,22 147%
Cytarabine $62.50 $3.55 3 58.95 1,661%
Doxorubicin HCL 3 945.98 § 139.75 $ 806.23 577%
Etoposide 5 110.00 $8.45 $ 101,55 1,202%
Leucovorin Calcium & 184.40 $ 2.76 § 181.64 6,581%
Methotrexate Sodium $ 68.80 $2.63 £66.17 2,516%
Vinblastine Sulfate $ 212.50 $ 8.19 $ 204.31 2,495%

4, Inflated Boehringer Group AWPs From Bedford’s Price Lists

312. According to Bedford’s own documents, the published AWPs for the drugs listed
above by the DOJ were, in fact, higher than the actual prices provided to wholesalers. In
response to government subpoenas, Bedford produced several price lists setting forth spreads
between AWPs and prices apparently offered to wholesalers, providers and other intermediaries.
A review of those price lists reveals that Bedford has consistently offered the above drugs and
other solutions to its customers at prices significantly below the published AWP and that the
spread was of great importance to its customers. (MDL BV 000799-806).

313. As set forth above, The Boehringer Group’s scheme to inflate its reported AWPs
and market the resulting spread to increase the market share of its drugs has resulted in excessive

overpayments by Plaintiffs and the Class.
H. B. Braun

314. B. Braun engages in an organization-wide and deliberate scheme to inflate AWPs.

B. Braun has stated fraudulent AWPs for all or almost all of its drugs, including those set forth

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below. The specific drugs of B. Braun for which relief is sought in this case are set forth in

Appendix A and identified below:

. BRAUN dextrose Caloric Agent; Electrolyte Replenisher

Used to increase intake of calories and

fluids

dextrose in lactated Caloric Agent; Electrolyte Replenisher

ringers Used to increase intake of calories and
fluids

dextrose w/ sodium Caloric Agent; Electrolyte Replenisher

chloride Used to increase intake of calories and
fluids

heparin sodium Blood Modifier

(porcine) in d5w Used to treat and prevent thrombosis and
pulmonary embolism

sodium chloride Flush; Abortifacient

Used to remove medicine and blockage
from intravenous (IV) catheter. Also used to

induce abortion
sodium chioride (gu Flush; Abortifacient
irrigant) Used to remove medicine and blockage

from intravenous (TV) catheter. Also used to
induce abortion

1. B. Braun Has Been the Target of Government Investigations

315, In connection with its scheme to inflate AWPs, B. Braun has been investigated by
the United States Department of Justice, the Office of Inspector General of the Department of
Health and Human Services, the Attorney General for the State of Texas, and the Attomey

General for the State of California,

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321. B. Braun, through its employees and agents, also provided free samples of its
drugs, and purported educational grants, to providers. The free samples and educational grants
would be used to offset the total cost associated with purchases of its drugs, thereby increasing
the spread, while also concealing the actual cost of the drug from Plaintiffs and the Class.

322.

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5. Specific B. Braun AWPs Documented by the DOJ
323. Ina report published by the DHHS (the “DHHS Report”), the DOJ documented at
least 23 instances where the published AWPs for various dosages of 3 drugs manufactured by

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B. Braun were substantially higher than the actual prices listed by wholesalers. The chart below
sets forth the 3 drugs identified by the DOJ and the spread associated with one particular dosage
ofeach drug. These figures compare the DOJ’s determination of an accurate AWFP for that

particular dosage, based upon wholesalers’ price lists, with the AWP reported by B. Braun in the

2001 Red Book.
B. Braun’s 2001. | DOJ Determined
Drug Red Book AWP Actual AWP Difference Spread
Dextrose SI L.28 $1.6} $9.67 601%
Dextrose Sodium $11.34 $1.89 $9.45 500%.
Chloride
Sodium Chloride $11.33 $1.49 $9.84 660%

6. Inflated AWPs From 8. Braun Price Lists

324. In response to government subpoenas, 8. Braun produced numerous price lists
setting forth spreads between AWPs and prices offered to wholesalers, providers and other
intermediaries. A review of those price lists reveals that B. Braun has consistently offered drugs
and other sohutions to its customers at prices significantly below the published AWP and that the
spread was of great importance to its customers. To repeat every one of those drugs and the
spread offered to each specific customer here is not practical. However, set forth below in Table
1 are a number of those drugs (not already referenced above) and the substantial spread offered

to a particular B. Braun customer. .

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Table 1
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326.

As set forth above, B. Braun’s scheme to inflate its reported AWPs and market

the resulting spread to increase the market share of its drugs has resulted in excessive

overpayments by Plaintiffs and the Class.

1, The BMS Group (Bristol-Myers, OTN and Apothecon)

327.

The BMS Group has engaged in an ongoing deliberate scheme to inflate AWPs.

The specific drugs for which relief is sought in this case are identified in Appendix A and are as

follows:

BMS GROUP (Bristol-
Myers, OTN and
Apothecon)

Avapro

irbesartan

Antihypertensive Agent
Used to treat hypertension

Blenoxane

bleomycin sulfate

Antineoplastic
Used in the treatment of various forms of
cancer

Buspar

buspirone hel

Antianxiety Agent (Psychotherapeutic Agent)
Used to treat certain anxiety disorders or to
relieve the symptoms of anxiety

Carboplatin

paraplatin

Antineoplastic
Used to treat cancer of the ovaries

Cefzil

cefprozil

Antibacterial Agent (Anti-Infective Agent)
Used in the treatment of infections caused by
bacteria

Coumadin

warfarin sodium

Anticoagulant (Blood Modifier)
Used to promote clotting

Cytoxan ..

cyclophosphamide

Antineoplastic

‘Used in the treatment of various forms of

cancer

Etopophos

etoposide phosphate

Antineoplastic |
Used to treat cancer of the testicles and certain
types of lung cancer

Glucophage

meformin hel

Antihyperglycemic Agent
Used to treat a type 2 diabetes mellitus.

Monopril

fosinopril sodium

Antihypertensive Agent; Vasodilator
(Cardiovascular Agent)
Used to treat hypertension

Monopril HCT

fosinopril sodium &
hydrochloro-thiazide

ACE Inhibitor (Cardiovascular Agent}
Used in the treatment of hypertension and
congestive heart failure

Plavix

clopidogrel bisulfate

Antithrombotic Agent
Used to lessen the chance of heart attack or
stroke

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Rubex doxorubicin hel Antineoplastic
Used in the treatment of various forms of
cancer

Serzone nefazodone hel Antidepressant (Psychotherapeutic Agent)
Used to treat mental depression
Taxol paclitaxel Antineoplastic

Used in the treatment of various forms of
cancer

Tequin gatifloxacin Antibacterial Agent (Anti-infective Agent}
Used to treat bacterial infections

Vepesid etoposide Antineoplastic
Used to treat cancer of the testicles and certain
types of lung cancer

Videx EC didanosine Antiviral Agent (Anti-Infective Agent)
Used in the treatment of HIV infection

amikacin sulfate Antibiotic Agent (Ant-Infective Agent}

Used to treat respiratory traci, urinary (ract,
bone, skin and soft tissue infections
amphotercin b Antifungal Agent (Anti-Infective Agent)
Used to help the body overcome serious
fungus infections

1. The BMS Group Has Been the Target of Government Investigations

328. in connection with its scheme to inflate AWPs, BMS has been investigated by the
United States Department of Justice, Commonwealth of Massachusetts, Office of Inspector
General of the U.S. Department of Health and Human Services, Attorney General for the State of
Texas, State of Califomia Department of Justice Office of the Attomey General, State of
Califomia Department of Justice, Bureau of Medi-Cal Fraud and Elder Abuse, and the U.S.
House of Representatives, Committee on Commerce. Defendant Apothecon has been
imvestigated in connection with its scheme to inflate AWPs by at least the Office of Medicare
Fraud and Elder Abuse, Office of Attorney General, State of Texas.

329, These investigations confirm that BMS engaged in an ongoing deliberate scheme
to inflate AWPs. For example, by letter dated February 27, 2001 to BMS, Rep. Stark outlined

numerous examples of illegal practices by BMS. Referring to a letter from Denis Kaszuba, a

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senior pricing analyst at BMS to Medispan, dated August 10, 1992 (BMSAWP/001 1247), Rep.

Stark noted:

Bristol has control over the AWPs, DPs, and WACs published for
its drugs and directs national publishers to change their prices.
Bristol directed a national publisher of drug prices to increase all
of Bnstol’s AWPs for oncology drugs by multiplying Bristol’s
supplied direct prices by a 25% factor rather than the previous
20.5% factor. . . The increase in the AWP created 2 spread that,
in itself, provided a financial kickback to oncologists for
prescribing Bristol’s cancer drugs.

330. Inthe same letter, Rep. Stark noted:

The evidence clearly shows that Bristol has intentionally reported
inflated prices and has engaged in other improper business
practices in order to cause its customers to receive windfall profits
from Medicare and Medicaid when submitting claims for certain
drugs. The evidence further reveals that Bristol manipulated prices
for the express purpose of expanding sales and increasing market
share of certain drugs where the arranging of a financial benefit or
inducement would influence the decisions of healthcare providers
submitting the Medicare and Medicaid claims.

2, The BMS Group Controls the Published AWP for Its Products

331. The BMS Group has controlled and set the AWPs for its pharmaceutical products
through direct communications with industry compendia during the Class Period. In one BMS
document, Denise Kaszuba, a senior BMS Group pricing analyst, instructed the Red Book that:

Effective immediately, Bristol-Myers Oncology Division products
factor used in determining the AWP should be changed from
20.5% toe 25%. This change should not effect [sic] any other
business unit of Bristol-Myers Squibb Company.

332. Other mternal documents clearly indicate that BMS had direct control over the
spread between its states wholesale price and the published AWP. A BMS office dispatch dated
September 9, 1992 notes the need for a mark up of the AWP over the state wholesale price.
“After reviewing the results of the wholesaler survey performed by Bristol Oncology . . we have

determined that for those items with a labeler 0003, we will use a 1.25 mark-up and for those

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items with the labeler 00015, we will use a 1.20 mark-up. We noticed too, that FDB and

Redbook use a 1.20 for everything.” (BMSAWP/0011246).

3. BMS’s AWP Manipulation Benefited Providers at the Expense of the Class

333. BMS was well aware that providers and other purchasers of its drugs were using
the spread to determine whether to purchase its drugs. Indeed, BMS was aware of and tracked
the prices and AWPs of its competitors in order to remain competitive. In an internal BMS
memorandum, BMS identifies its competitors who sell etoposide (Gensia, Pharmacia, Abbott,
Chiron, Ben Venue, Immumnex and Astra) and their corresponding list price and AWPs.
(BMS3CA/000 128).

334. BMS created AWP competitor analyses that tracked the AWPs of its competitors’
relevant drugs, and used that date internally to propose suggested AWPs for BMS drugs. One
such competitor analysis set forth the competitor AWPs for Atenolol with chlorthalidone and
provided an “Apothecon suggested AWP” for each dosage. (BMS3CA/000648)

335. BMS clearly belteved that the maintenance of a spread on its drugs was important
in gaining and maintaining market share. In an internal BMS document, concerning its drug

Vepacid (etoposide), BMS noted:

The Etopophos product file is significantly superior to that of
etoposide imjection .. .. Currently, physician practice can take
advantage of the growing disparity between Vepesid’s list price
(and, subsequently, the Average Wholesale Price) and the actual
acquisition cost when obtaining reimbursement for etoposide
purchases. If the acquisition price of Etopophos is close to the list
price, the physician’s financial incentive for selecting the brand is
largely diminished.

4. Specific BMS AWPs Documented by the DOJ

336. Ina report published by the DHHS, the DOJ documented numerous instances
where the published AWPs for various dosages of five (5) drugs manufactured by the BMS
Group were substantially higher than the actual prices listed by wholesalers. The chart below

sets forth the BMS Group drugs identified by the DOJ and the spread associated with one

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particular dosage of each dmg. These figures compare the DOJ’s determination of an accurate
AWP for that particular dosage, based upon wholesalers’ price lists, with the AWP reported by
the BMS Group in the 2001 Red Book.

Drug Manufacturer BMS’s DOJ Difference | Percentage

2001 Red Determined Spread
Book AWP Actual AWP :

Amikacin Sulfate Apothecon $32.89 $17.31 $15.58 50%

Amphotercin B Apothecon $17.84 $6.20 $11.64 188%

Bleomyein Sulfate | BMS $609.20 3509.29 $99.91 20%

Cyclophospamide BMS $102.89 $45.83 557.06 125%

Etoposide (Vepesid} | BMS $136.49 $34.30 $102.19 298%

337. Other sources reveal additional evidence of fraudulent AWPs for drugs
manufactured and marketed by the BMS Group:

5. Other AWPs Related to VEPESED (etoposide)

338. The February 27, 2001 letter from Rep. Stark to BMS noted that as to BMS “. . .
the manipulated discrepancies between [BMS’s] inflated AWPs and DPs versus their true costs
are staggering. For example, in the 2000 edition of the Red Book, Bristol reported an AWP of
$1296.64 for... Vepesid (Etoposide) for injection ... while Bristol was actually offering to sell
the exact same drug to [a large national group purchasing organization] for $70.00.” The
difference noted by Rep. Stark represents a % 1,752 spread related to Vepecid.

6. Other AWPs Related to Blenoxane

339. BMS internal documents reveal that in 1995, BMS-set the Red Book AWP for .-
Blenoxane at $276.29. At the same time, BMS was selling Blenoxane to oncologists practicing
in St. Petersburg, Florida for only $224.22. In 1996, BMS increased its reported AWP for
Blenoxane to $291.49, while continuing to sell the drug to oncologist for $224.27. In 1997,
BMS falsely reported that it had increased the AWP of Blenoxane to $304.60, when in reality,
BMS had lowered the price to oncologists to $155.00. In 1998, BMS again reported a false
AWP for Blenoxane of $304.60 while further reducing the actual price to oncologists to $140.00.

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7. The BMS Group Provided Free Goods and Other Incentives

340. As part of its scherme the BMS Group also used free drugs and other goods to
encourage participation by physicians. Thus, for example, the BMS Group provided free
Etopophos® to two Miami oncologists in exchange for their agreement to purchase other BMS
Group cancer drugs. Similarly, other documents show that the BMS Group provided free
Cytogards in order to create a lower-than-invoice cost to physicians that purchased other cancer
drugs through OTN. (A Cytogard is a device that prevents spillage of intravenous administered
treatments such as BMS’s cancer drug Etopophos®.)

341. Asset forth above, the BMS Group’s scheme to inflate its reported AWPs, market
the resulting spread, and channel to providers “free” goods — all in order to increase the market
share of its drugs — has resulted in excessive overpayments by Plaintiffs and the Class.

342. For example, in a report published by DHHS, the DOJ documented at least 12
instances where the published AWPs for drugs manufactured by the BMS Group were
substantially higher than the actual prices listed by wholesalers.

343. The chart below sets forth five examples where the BMS Group deliberately
inflated AWPs that it reported for BMS Group drugs. These figures compare the DOJ’s
determination of an accurate AWP, based upon wholesalers’ price lists, with the AWP reported
by the BMS Group m the 2001 Red Book.

Drug . Manafacturer BMS’s . DOI Difference | Percentage
2001 Red | Determined Spread
Book Actual AWP
AWP
Amikacin Sulfate Apothecon $32.89 $17.31 $15.58 90%
Amphotercin B Apothecon $17.84 $6.20 $11.64 188%
Bleomycin Sulfate BMS $609.20 $509.29 $99.91 20%
Cyclophospamide BMS $102.89 $45.83 $57.06 125%
Etoposide (Vepesid) | BMS $136.49 $34.30 $102.19 298%

344. In 1997, an OIG Report identified three other Medicare Part B drugs with inflated
AWPs — which the 1997 Red Book indicates were manufactured only by the BMS Group at that

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time: Paraplatin® (carboplatin), Rubet® (doxorubicin hydrochloride), and Taxol® (paclitaxel).

Sales of these inflated drugs were substantial. For example, Paclitaxel generated $941 million in

revenue for the BMS Group in 1997, and Carboplatin generated $702 million in revenue in 2001.
345. The government's investigation uncovered other drugs for which the BMS Group

was stating a fraudulent AWP. Specifically:

a. In the 2000 edition of the Red Book, BMS reported an
AWP of $1296.64 for Vepesid (Etoposide) for injection
while BMS was actually offering to sell the exact same
drug to a large customer for only $70.00.

b. From 1995 through 1998 the Red Book listed AWP for
BMS’ Blenoxane 15u increased from $276.29 to $304.60,
while the actual cost to physicians declined from $224.22
to $140.00, resulting in a spread of $164.60 in 1998
346. An internal BMS Group document shows that the A WP set by the BMS Group for
its drugs bears no relation to an actual wholesale price, and is greater than the highest price
actually paid by providers. More specifically, in a discussion about lowering Vepesid’s AWP in
order to create sales for Etopophos, the BMS Group stated that the “A WP for Vepesid would be
reduced from its current level to the highest bid price currently in the marketplace.”
347. BMS Group documents also reveal that physicians were making medical
decisions based on how much profit they could make from the AWP manipulated spread. In
considering provider choice between BMS drugs Etopophos® and Vepesid® (Etoposide), the

BMS Group noted that:

The Etopophos product file is significantly superior to that of
etoposide injection . . . . Currently, physician practice can take
advantage of the growing disparity between Vepesid’s list price
(and, subsequently, the Average Wholesale Price) and the actual
acquisition cost when obtaining reimbursement for etoposide
purchases. If the acquisition price of Etopophos is close to the list
price, the physician’s financial incentive for selecting the brand is
largely diminished.

348. While the BMS Group and other Defendants have placed the blame for setting
published AWPs on the publications in which the AWPs are contained, another BMS Group

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document demonstrates that publications reporting AWPs had no discretion to set AWPs, and
instead published verbatim the prices reported by the BMS Group and other Defendants. In the

document, Denise Kaszuba, 2 senior BMS Group pricing analyst, instructed the Red Book that:

Effective imamediately, Bristol-Myers Oncology Division products
factor used in determining the AWP should be changed from
20.5% to 25%. This change should not effect [sic] any other
business unit of Bristol-Myers Squibb Company.

349. Dey engages in an organization-wide and deliberate scheme to inflate AWPs.
Dey has stated fraudulent AWPs for all or almost all of its drugs, including those set forth below.
The specific drugs of Dey for which relief is sought in this case are set forth in Appendix A, and

are identified below:

DEY acetylcysteine Mucolytic (Respiratory Agent: Diagnostic Aid)
Used for certain lung conditions when increased
amounts of mucus make breathing difficult

albuterol or albuterol | Bronchodilator (Respiratory Agent)

sulfate Used for relief of bronchospasm in asthma
sufferers
cromolyn sodium Antiallergic and Mast Cell Stabilizer

Used to help prevent or treat the symptoms of
seasonal or chronic allergic rhinitis
ipratropium bromide | Bronchodilator (Respiratory Agent)

Used for relief of bronchospasm in asthma

sufferers
metaproterenol Bronchodilator (Respiratory Agent}
sulfate Used for relief of bronchospasm in asthma
sufferers

1. Dey Has Been the Target of Government Investigations
350. In connection with its scheme to inflate AWPs, Dey has been investigated by the
United States Department of Justice, United States Department of Health and Human Services,

Office of Inspector General, the United States District Attomey for the District of Massachusetts,

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the Attorney General of the State of California, the Attorney General for the State of Texas, the
Attorney General of the State of Connecticut, and the District Attomey for the County of
Suffolk, New York State.

351. These investigations confirm that Dey has engaged in a deliberate scheme to
inflate the published AWPs for many of its drugs. For instance, Dey’s spread for albuterol
sulfate, a drug that constituted 37 % of Dey’s income in 1998, drastically increased between
1992 and 1998. In 1992, Dey’s Red Book AWP for albuterol sulfate (.083% concentration, 3 ml)
was $32.30. McKesson’s wholesale price for the drug was $25.45 (a spread of $ 6.85 or 27%).
By 1998, Dey’s Red Book AWP for the same concentration/dose of albuterol sulfate had barely
slipped to $30.25, while McKesson’s wholesale price had plummeted to $10.00 (a spread of
$20.25 or 202%). See September 25, 2000 letter from U.S. Rep. Bliley to Nancy-Ann Min
DeParle.

352. The federal government is not the only entity to uncover Dey’s scheme to-imflate
AWPs. The Attorneys General of Texas and West Virginia recently discovered that due to over
inflated AWPs, both state’s Medicaid Programs have been defrauded by Dey for millions of
dollars. Texas alleges that, between 1995 and 1999, it paid $13.7 million for Dey’s albuterol
sulfate and ipratropium bromide, when it should have paid only $8.7 million — an overcharge of
$5 million. West Virginia alleges that Dey and others manipulated the AWP to significantly
overcharge state agencies and residents for several drugs, including albuterol, from at least 1995 -
through 2000.

353. In its own suit against Dey and other pharmaceutical manufacturers for AWP
manipulation, the Attorney General for the State of Connecticut documented Significant spreads
between Dey’s published AWPs and actual wholesale prices for many of its drugs. Incorporated

below are examples cited by the Connecticut Attorney General:

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Drug NDC# Year [AWP | ACTUAL | SPREAD %
PRICE OVERCHARGE
ALBUTEROL | 49502-0303-17 | 1996 [$21.70 | $3.25 $18.45 488%
IPATROPIUM
BORMIDE 49502-0685-03 | 2001 | $44.10 | $835 $35.58 355%
IPATROPIUM
BROMIDE 49502-0685-03 | 2000 | $44.10 | $11.45 $32.65 239%
IPATROPIUM
BROMIDE 49502-0685-03 | 1999 | $44.10 | $11.45 $30.11 177%
2.
354,
REDACTED
a.
b.
REDACTED
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3. Dey’s AWP Manipulation Benefited Providers at the Expense of the Class

355. The purpose of Dey’s AWP manipulation was to mcrease the spread in order to
maximize the profit to providers and other intermediaries. This is clear from Dey’s own
documents. For example:

a Dey was aware that its customers were “spread shopping” and competed
by increasing the spread to its customers. In an internal worksheet filled out by Dey in
preparation for a bid of potential sales to one of its customers, Dey listed the current contract
price of various products as well as a recommended new contract price. In the notes next to
these figures the worksheet states, “This account needs AWP-40% or better to see profit due to
the employer groups they serve. Have not made the switch to our product line due to the spread .
. .” (DL-TX-0014629)

b. Competition between generic products produced by Dey was fierce and
the spread was a major factor in this competition. In another similar bid price worksheet for a
different customer, the corresponding notes state “croniolyn pricing is at AWP-40% and 35%
respectively — bear in mind that we are competing with the branded spread and the generic
perception of [sic] everything should be AWP-60%” (DL-TX-0014439)

356. This competition came at the expense of Plaintiffs and the Class whose payments
were based on AWP. For instance, Albuterol sulfate, a multisource drug and one of Dey’s top
selling products, was a focus of the federal government’s investigation into AWP inflation. OIG
found that “Medicare’s reimbursement amount for albuterol was nearly six times higher than the
median catalog price” and that “Medicare and its beneficiaries would save between $226 million
and $245 million a year if albuterol were reimbursed at prices available to suppliers.” See

“Excessive Medicare Reimbursement for Albuterol,” OEI-03-01-00410, March 2002.

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337. The OIG determined that the Medicare-allowed amount for albuterol sulfate in
1996 was $0.42. However the actual wholesale price was $0.15, and the highest available
wholesale price was $0.21.

358. GAO also found that albuterol sulfate was one of a small number of products that
accounted for a large portion of Medicare spending and volume. More specifically, albuterol
sulfate ranked first in volume of units covered by Medicare, accounting for 65.8% of total units
reimbursed. Furthermore, albuterol sulfate accounted for 6.3% of total Medicare spending,
ranking fifth out of more than 400 covered drugs. See GAO Report to Congressional
Committees, MEDICARE: Payments for Covered Outpatient Drugs Exceed Providers’ Cost,
Tables 1 and 2, pp. 7-8.

4, Specific Dey AWPs Documented by the DOJ

359. iInareport published by the DHHS, the DOJ documented at least 15 instances
where the published AWPs for various dosages of 4 drugs manufactured by Dey were
substantially higher than the actual prices listed by wholesalers. The chart below sets forth the
drugs identified by the DOJ and the spread associated with one particular dosage of each of the 4
drugs. These figures compare the DOJ’s determination of an accurate AWP for that particular

dosage, based upon wholesalers’ price lists, with the AWP reported by Dey in the 2001 Red

Book.
Drug in Lowest 2001 Red Book DOJ Determined Difference Percentage
Dosage Form AWP AWP Spread
Acetylcysteine $59.88 $25.80 534.08 132%
Albuterol Sulfate $30.25 $9.17 521.08 230%
Cromolyn Sodium $42.00 $23.01 318.99 82%
Metaproterenol Sulfate $30.75 $11.29 319.46 172%

5. Inflated Dey AWPs From Dey’s Price Lists
360. According to Dey’s own documents, the published AWPs for many of its own

products were higher than the actual prices charged wholesalers and other intermediaries.

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Table I below is excerpted from a pricing proposal by Dey to McKesson Drug Company, one of

the county’s largest wholesalers, dated December 20, 1995.

Table 1
%
Discount
Suggested from %
Generic Name Strength Size AWP | WAC | Sell Price WAC Spread
Acetylcysteine Solution 10% 4mL $67.80 | $25.80 $18.00 -40.0% 277%
Acetylcysteine Solution 10% 10mL | $40.26 | $15.27 $13.50 -30.0% 198%
Acetyleysteine Solution 10% 30 mL | $110.48 | $41.97 | $33.50 -35.0% 230%
Acetyleysteine Solution 20% 4mL $81.36 | $31.08 $21.50 -40.0% 278%
Acetylcysteine Solution 20% 10mL | $48.66 | $18.57 516.20 -30.0% 200%
Acetylcysteine Solution 20% 3GmL | $133.43 | $50.64 | $39.90 -35.0% 234%
Acetyleysteine Solution 20% 100 mL | $92.21 | $75.90 | $59.90 -40.0% 54%
Albuterol Sulfate Inhalation Soln. | 0.083% 3 mL $30.25 | $14.50 $12.00 -29.3% 152%
Albuterol Sulfate Inhalation Soin. | 0.083% 3 mL $36.30 | 317.40; $1440 -29.3% 152%
Albuterol Sulfate Inhalation Soln. | 0.083% 3 mL $72.60 | $34.50 $28.80 -28.7% 152%
Cromolyn Sodium Inhalation, 20 2 mL $42.00 | $34.20} $29.00 ~25.0% 45%
USP me/2ml
Cromolyn Sodium Inhalation, 20 2mL $84.00 | $66.00 $58.00 22.3% 45%
USP mg/2ml
Metaproterenol Sulfate Inhalation 0.4% 2.5mb | 330.75 | 511.00} $10.00 -21,.5% 207%
Soln.
Metaproterenol Sulfate Inhalation 0.6% 2.5mL } 330.75 | $11.00] $10.00 -21.5% 207%
Soln.
Sodium Chloride Solution 0.9% 3 mL $24.20 | $13.00 | $10.94 732.7% 121%
Sodium Chloride Solution 0.9% 5mL 324.20 | $13.00 | $10.94 -32.7% 121%

(DL-TX 0011179)

6. Dey Provided Free Goods and Other Incentives

361. In addition to marketing the spread, Dey has utilized other impermissible
inducements to stimulate sales of its drugs without accounting for them in its WAC or AWP.
These inducements were designed to result in a lower net cost to the provider while concealing
the actual wholesale price beneath a high invoice price. By utilizing “off-invoice” inducements,
Dey provided purchasers with substantial discounts meant to gain their patronage while

maintainimg the fiction of a higher wholesale price.

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362. For example, in an announcement of a special incentive program to its customers
to induce the purchase of its Ipratropium Bromide Inhalation solution, Dey sent its customers an
offer sheet entitled “Profitability Enhancement For You” in which it stated “For every dollar of
Dey Cromolyn Sodium unit-dose purchased, Dey will provide free goods of either: Coromolyn
Sodium Inhalation Solution 0.62%, 2.5ml, at 1.0 times the rebate amount ~OR- Ipatropium
Bromide Inhalation Solution 0.02%, 2.5ml, when it launches, at a value of 1.5 times the rebate
amount for Cromolyn.” (DL-FX-0004775).

7. Dey Has Concealed Its AWP Manipulation

15. In an effort to conceal the existence of a spread from end payors, Dey concealed
the true wholesale prices of its drugs. For instance, in a handwritten memorandum to Dey’s

pricing committee a potential pricing structure with a customer was discussed:

“I met with IPC to discuss our contract offer (illegible). . . Tom
Konnelly (IPC) said he wanted to keep net pricing hidden from 34
parties by increasing in the purchase price on our offer by 25%.
IPC then requires 2 25% rebate back to IPC. . . I have remarked the
pricing. If this offer is accepted, the higher price will go into
McKesson as a chargeback contract. Dey will then rebate IPC
25% on contract purchases on a quarterly basis. .

(DL-TX-0024844)

363. As set forth above, Dey’s scheme to inflate its reported AWPs and market the
resulting spread to increase the market share of its drugs and its use of other “off invoice” rebates
and financial inducements to its customers has resulted in excessive overpayments by Plaintiffs

and the Class.

K. The Fujisawa Group (Fujisawa Pharmaceutical, Fujisawa Healthcare,
Fujisawa USA)

364. Fujisawa engages in an organization-wide and deliberate scheme to inflate AWPs.
Fujisawa has stated fraudulent AWPs for all or almost all of its drugs, including those set forth
below. The specific drugs of Fujisawa for which relief is sought in this case are set forth in

Appendix A and are identified as follows:

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Aristocort triamcinolone, Anti-lnflammatory, Steroidal;

(Fujisawa Healthcare, triamcinolone Used in the treatment of asthma
Fujisawa diacetate or
Pharmaceutical and triamcinolone
Fujisawa USA) acetonide
Aristospan triamcinolone Anti-Inflammatory Agent, Steroidal
hexacetonide Used to provide relief for inflamed areas of
the body
Cefizox ceftizoxime sodium Antibiotic Agent (Anti-Infective Agent)
or ceftizoxime in d5w | General antibiotic
Cyclocort amcinonide Anti-Inflammatory Agent
Used to treat inflammatory symptoms of skin
disorders
Lyphocin vancomycin Antibacterial Agent
hydrochloride Used to treat infections in many different parts
of the body
Nebupent pentamidine Antiprotozoal Agent
isothionate Used to try to prevent Pneumocystis carinii
pneumonia
Pentam 300 pentamidine Anti-Infective Agent
isethionate Used in the treatment of pneumonia
Prograf tacrolimus Immunosuppressant

Used to lower the body's natural immunity in
patients who receive organ transplants
acyclovir sodium Antiviral Agent

Used io treat herpes simplex infections,
varicella-zoster (chickenpox) in people with
weakened immune systems, and severe gerital
herpes infections

dexamethasone Anti-Inflammatory Agent; Antiemetic

sodium phosphate (Gastrointestinal Agent)
Used in various applications to treat inflamed
areas of the body

doxorubicin Antineoplastic :

hydrochloride Used in the treatment of ovarian cancer and
AIDS-related Kaposi’s sarcoma

fluorouracil Antineoplastic

Used to treat cancer, including colon, rectum,
breast, stomach, and pancreas

gentamicin sulfate Antibacterial Agent
Used to treat sertous bacterial infections
vinblastine sulfate Antineoplastic

Used in the treatment of various forms of
cancer, includmg lymphoma and breast cancer

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1. Fujisawa Has Been the Target of Government Investigations

365. In connection with its scheme to inflate AWPs, Fujisawa has been investigated by
the United States Department of Justice, the Office of Inspector General of the Department of
Health and Human Services, the Attorney General for the State of Texas, and the Attorney
General for the State of California.

2. Fujisawa Controls the Published AWP for Its Products

366. Fujisawa controlled and set the AWPs for its pharmaceutical products through
direct communications with industry compendia during the Class Period. For example, on
March 10, 1997, Fujisawa provided MediSpan with an updated listing of pack prices - including
AWPs — for all of its products. (FJ-MDL 015152-015159).

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4, Specific Fujisawa AWPs Documented by the DOJ

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371. In areport published by the DHHS (AB-00-86), the DOJ documented at least 35

imstances where the published AWPs for various dosages of 6 drugs manufactured by Fujisawa

were substantially higher than the actual prices listed by wholesalers. The chart below sets forth

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the 6 drugs identified by the DOJ and the spread associated with one particular dosage of each
drug. These figures compare the DOJ’s determination of an accurate AWP for that particular

dosage, based upon wholesalers’ price lists, with the AWP reported by Fujisawa in the 2001 Red

Book.
The Fujisawa
Group’s 2001 Red | DOJ Determined Percentage

Drug Book AWP Actual AWP Difference Spread
Acyclovir Sodium $565.10" $371.50 $193.60 52%
Dexamethasone $1.04° $.66 5.38 58%
Sodium Phosphate
Fluorouracil $2.87 $1.20 $1.67 139%
Gentamacin Sulfate $12.64" $5.40 37.24 134%
Pentamidine $98.75 $36.00 $62.75 174%
Isethionate
Vancomycin $10,97° $7.00 $3.97 57%
Hydrochloride

(P006299-0063 16).

5. Inflated AWPs From Fujisawa Price Lists

372. Inresponse to government subpoenas, Fujisawa produced numerous price lists
setting forth spreads between AWPs and prices offered to wholesalers, providers and other
intermediaries. A review of those price lists reveals that Fujisawa has consistently offered drugs
and other solutions to its customers at prices significantly below the published AWP and that the
spread was of great importance to its customers. To repeat every one of those drugs and the
spreads offered to each specific customer here is not practical.

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? Calculation based on the AWP listed in the 1998 Red Book.
? Calculation based on the AWP listed in the 1998 Red Book.
4 Calculation based on the AWP listed in the 1998 Red Book.
5 Calculation based on the AWP listed in the 1998 Red Book.

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Table 1

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Table 2
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